Case:21-11338-MER Doc#:47 Filed:09/15/21             Entered:09/15/21 11:46:38 Page1 of 1




                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )      Case No. 21-11338 MER
TANJA R. KINNEY,                            )      Chapter 7
                                            )
                             Debtor.        )


ORDER GRANTING TRUSTEE’S SUPPLEMENTAL APPLICATION TO EMPLOY BK
      GLOBAL REAL ESTATE SERVICES AS LISTING AGENT/BROKER


       This matter having come before the Court on the Trustee’s Supplemental Application to
Employ BK Global Real Estate Services as Listing Agent/Broker (the “Application”) filed by Jared
C. Walters, chapter 7 trustee (the “Trustee”), and the Court being advised in the premises, the
Court hereby:

       ORDERS that the Application is GRANTED. Trustee is authorized to employ BK Global
Real Estate Services and its affiliates Elk Mountain Realty Ltd. and Max Becker as listing
agent/broker in connection with the marketing and sale of the address of 298 Middle Street,
Rangely, Colorado 81648 (the “Property”). The Court further

       ORDERS that commissions shall be earned only upon closing of the sale of the Property
and shall not be paid without prior application and approval of this Court.

         DATED this 15th               September
                              day of ________________, 2021.

                                            BY THE COURT:


                                            _________________________________
                                            Hon. Michael E. Romero
                                            United States Bankruptcy Judge
